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                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

JOSARA BISHOP,

            Plaintiff,

v.                                       Civil Action No. 2:18-cv-0892

DITECH FINANCIAL LLC,

            Defendant.

                                    ORDER



            The court has received the suggestion of defendant’s

bankruptcy, filed by the plaintiff on February 18, 2019.


            In accordance with 11 U.S.C. § 362, it is ORDERED that

this civil action be, and hereby is, stayed pending a lifting

order from the bankruptcy court or any other event that

concludes the stay.      It is further ORDERED that the parties

provide immediate notice of any event that may warrant the

conclusion of the stay.


            This action is retired to the inactive docket of the

court until further order of the court, and the Clerk is so

directed.
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          The Clerk is requested to transmit this order to all

counsel of record and to any unrepresented parties.


                                    ENTER: April 18, 2019




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